DOC :1729 BK:6109 PG:296
RECORDED: SOMERSET COUNTY 02/27/2024 10:16:28A

Deputy Register , Arlene Demo

Prepared By and Return To:

Collateral Department

Meridian Asset Services, LLC
3201 34" Street South, Suite 310
St. Petersburg, FL 33711

(239) 351-2442

Space above for Recorder's use

ONC

RESCISSION OF ASSIGNMENT OF MORTGAGE

Through inadvertence and mistake the undersigned executed an Assignment of Mortgage referenced below
in the official records of said county. The undersigned state that they hereby INVALIDATE and NULLIFY
the assignment to the same extent and effect as though the assignment had never been issued and recorded.

O27 24
é8 Filed of Record: 07/18/2023 In Book/Liber/Volume F468, Page 6629;
es Document/Instrument No: mun the Recording District of Somerset, ME #¥ 7 tél
Assignor: CITIGROUP MORTGAGE LOAN TRUST 2019-RP1
Assignee: U.S. BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
CAPACITY, BUT SOLELY AS TRUSTEE OF CITIGROUP MORTGAGE LOAN
TRUST 2019-RP1

The Assignment of Mortgage refers to the following described Mortgage:

Borrower(s): TERRY KUNZ & PAGGY ANN KUNZ

Lender: CITIFINANCIAL, INC.

Filed of Record: 7/29/2005 in Book/Liber/Volume 3528, Page 54, Instrument No: 11603 in the Recording
District of Somerset, ME.

Property more commonly described as: 289 MAIN ST, CANNAN, MAINE 04954
DOC :1729 BK:6109 PG:297

IN WITNESS WHEREOPF, the undersigned by its duly elected officers and pursuant to proper authority of its board
of directors has duly executed, sealed, acknowledged and delivered this assignment.

Date: _{ \ | r\

CITIGROUP MORTGAGE LOAN TRUST 2019-RP1, BY FAY SERVICING, LLC, ITS ATTORNEY-IN-

A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
THE [INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE IS ATTACHED, AND NOT THE
TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT

State of Texas

County of Dailas—

On JAN 0 3 2024 , before me, Dekendrick Ganlson, Notary Public, personally
appeared Brett Gernon Assistant Secretary ___—sof/for FAY

SERVICING, LLC, AS ATTORNEY-IN-FACT FOR CITIGROUP MORTGAGE LOAN TRUST 2019-RP1,
personally known to me, or who proved to me on the basis of satisfactory evidence to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the
entity upon behalf of which the person(s) acted, executed the instrument. I certify under PENALTY OF PERJURY
under the laws of the State of JT@YAs _ that the foregoing paragraph is truc and correct. I further certify

, signed, sealed, attested and delivered this document as a voluntary act in
my presence, :

Witness my hand and official

Ee, DEKENDRICK GANISON

Sf % Notary Public, State of Texas
o£ 28 Comm. Expires 06-27-2025

Notary iD 128287218

(Notary Name):

ekendyick ant
My commission expires:

